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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 United States of America,                                      Criminal No. 99-278 (DWF)

                       Plaintiff,

 v.                                                       ORDER FOR APPOINTMENT
                                                           OF SUBSTITUTE COUNSEL
 Gregory Lynn McCoy,

                       Defendant.


       Upon appointed counsel’s Motion for Withdrawal (Doc. No. 166), the Court finds

that it is in the interest of justice that present counsel be relieved of his assignment to

represent the defendant in the above entitled case.

       IT IS HEREBY ORDERED that:

       1.     Appointed counsel’s Motion for Withdrawal (Doc. No. [166]) is

GRANTED.

       2.     The Court directs that Matthew Mankey, Attorney ID 230303, is appointed

as substitute counsel, replacing Kevin O’Brien, Attorney No. 80561, pursuant to

18 U.S.C. § 3006A.


Dated: September 30, 2020                   s/Donovan W. Frank
                                            DONOVAN W. FRANK
                                            United States District Judge
